












Petition for Writ of
Mandamus Dismissed and Memorandum Opinion filed May 27, 2010.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

In The

&nbsp;

Fourteenth Court of
Appeals

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&nbsp;

NO. 14-10-00431-CV

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IN RE BILFORD DWIGHT JUNIOUS, Relator

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ORIGINAL PROCEEDING

WRIT OF MANDAMUS

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MEMORANDUM
OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On May 13, 2010, Relator, Bilford Dwight Junious, filed a
petition for writ of mandamus in this court.&nbsp; See Tex. Gov’t Code Ann
§22.221 (Vernon 2004); see also Tex. R. App. P. 52.1. &nbsp;Relator requests
this court issue a writ of mandamus ordering the Harris County District Clerk
to file his divorce documents in the proper court.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This court’s mandamus jurisdiction is governed by section
22.221 of the Texas Government Code.&nbsp; Section 22.221 expressly limits the
mandamus jurisdiction of the courts of appeals to:&nbsp; (1) writs against a
district court judge or county court judge in the court of appeals’ district,
and (2) all writs necessary to enforce the court of appeals’ jurisdiction.&nbsp;
Tex. Gov’t Code Ann. § 22.221 (Vernon 2004).&nbsp; Because the petition for writ of
mandamus is directed toward the Harris County District Clerk and is not
necessary to enforce this court’s jurisdiction, we have no jurisdiction.&nbsp; See
Tex. Gov’t Code Ann. § 22.221(b)(1).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, the petition for writ of mandamus is ordered
dismissed.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

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Panel
consists of Justices Anderson, Frost, and Seymore.





